Case 0:15-bk-12662-DPC   Doc 213 Filed 06/08/17 Entered 06/08/17 12:54:07   Desc
                          Main Document    Page 1 of 6
Case 0:15-bk-12662-DPC   Doc 213 Filed 06/08/17 Entered 06/08/17 12:54:07   Desc
                          Main Document    Page 2 of 6
Case 0:15-bk-12662-DPC   Doc 213 Filed 06/08/17 Entered 06/08/17 12:54:07   Desc
                          Main Document    Page 3 of 6
Case 0:15-bk-12662-DPC   Doc 213 Filed 06/08/17 Entered 06/08/17 12:54:07   Desc
                          Main Document    Page 4 of 6
Case 0:15-bk-12662-DPC   Doc 213 Filed 06/08/17 Entered 06/08/17 12:54:07   Desc
                          Main Document    Page 5 of 6
Case 0:15-bk-12662-DPC   Doc 213 Filed 06/08/17 Entered 06/08/17 12:54:07   Desc
                          Main Document    Page 6 of 6
